                                   TINITED STATES DISTRICT COURT
                                   EASTERN DISTzuCT OF MISSOURI
                                          EASTERN DIVISION

                                                            )
IN RE: SUBPOENA                                             )       Case No.   4:20-mc-00854-PLC
                                                            )
                                                            )       FILED UNDER SEAL

                APPLICATION FOR ORDER COMMANDING T-MOBILE
          NOT TO NOTIFY ANY PERSON OF THE EXISTENCE OF A SUBPOENA

          COMES NOW the United States of America, by and through its attorneys, the United

States Attomey        for the Eastem District of Missouri, and John J. Ware, Assistant United          States

Attomey for said District, and requests that this Court order T-MOBILE (hereinafter "the Service

Provider") not to notify any person (including the subscribers or customers of the account(s) listed

in the attached subpoena) of the existence of the subpoena for a period of one year, concerning the

following account(s):

                                          Phone: 314-556-2736

         As grounds the United States asserts as follows:

          1.     The Service Provider is a provider of an electronic communication service,                as


defined in Title 18, U.S.C., Section 2510(15), and/or aremote computing service, as defined in

Title   18, U.S.C.,   27ll(2).   Pursuant to   Title   18, U.S.C., Section 2703, the United States intends to

serve the attached subpoena. Pursuant to          Title   18, U.S.C., Section 2703(c)(3), the Government or

agency receiving these records or information as a result of the subpoena            will not provide notice

to the subscriber or customer of the aforementioned account(s).

         2.      This Court has authority under Title 18, U.S.C., Section 2705(b) to issue "an order

commanding a provider of electronic communications service or remote computing service to

whom a warrant, subpoena, or court order is directed, for such period as the court                    deems
appropriate, not to notify any other person of the existence of the warrant, subpoena, or court

order." Id.

          3.       In this case, such an order is appropriate because the subpoena was issued in part

under the authority granted to this court pursuant to   Title   18, U.S.C., Section 2703. This subpoena

is related to an ongoing criminal investigation that is not public and this portion of the investigation

is not known to the subjects of the investigation. Premature notification may alert the subject(s)

to the investigation. Some of the evidence in this investigation is stored electronically. If the

subjects were notified about the subpoena for the accounts referenced in this order, the subjects

could destroy evidence in other accounts they are using but of which the Government is not aware

at this time, including information saved in other electronic storage media. Accordingly, there is

reason to believe that notification of the existence    of the subpoena will seriously jeopardize the

investigation, including giving the subjects an opportunity        to: flee, destroy   and/or tamper with

evidence; change patterns of behavior; or        notiff confederates. See Title 18, U.S.C., Section

2705(b)(2), (3), and (5).

          WHEREFORE, the United States respectfully requests, pursuant to Title 18, U.S.C.,

Section 2705(b), that the Court grant the attached Order directing the Service Provider not to

disclose the existence or content of this Application, the attached subpoena and any Order issued,

for   a period   of one year from the date of the Order, except that the Service Provider may disclose

the attached subpoena and any Order to an attomey for the Service Provider for the purpose            of
receiving legal advice.




                                                    2
        The United States further requests that the Court order that this Application, attached

subpoena, and any resulting Order be sealed until further Order of the Court. As explained above,

there is good cause to seal these documents because their premature disclosure may seriously

j eopardize   that investigation.

                                            Respectfu lly submitted,

                                            JEFFREY B. JENSEN
                                            United States Attorney

                                              /s/ John J. Ware
                                            JOHN J. WARE, #40880(MO)
                                            iohn.              sov
                                            Assistant United States Attorney


Dated this 2nd day of December, 2020.




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    AO   I   l0   (Rev. 06/09) Subpocna to   lcstily Bcforc a Grand Jury


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                                                                                     for the
                                                                      Eastern District of Missouri

                                                   SUBPOENA TO TESTIFY BEFORE A GRANDJURY
                  T-Mobile
                  Attn: Gavin Pinchback, Director Law Enforcement Relations Group
    To:           4 Sylvan Way
                  Parsippay, NJ 07054
                  Phone: 9866-537-091 1
                  eMail: Lerinbound@T-Mobile.com
                   YOU ARE COMMANDED to appear in this United                            States district court at the time, date, and place shown
    below to testify before the court's grand                   jury.      When you arrive, you must remain at the courl until the judge or a court
    officer allows you to leave.



    p1u"". Thomas F. Eagleton U.S. Courthouse                                                     Date and Time:
                  111 South 10th Street, 20th Floor
                                                                                                             December 16, 2020, 9:30 a.m.
                  St. Louis, t\,lO 63102
                                                                                                             Grand Jury Room - 20th Floor




                   You must also bring with you the following documents, electronically stored information, or objects                   (btank dnor
   oPPlicable):                                                                sEE ATTACHMENT

NOTE: Pursuant to an official investigation being conducted by the Federal Grand Jury for the Eastern District of
Missouri, your company is requested not to disclose the existence of this subpoena, nor that your company has
given information to the Federal Grand Jury. Such a disclosure would impede the investigation and thereby interfere
with the enforcement of the criminal Iaws of the United States of America.




   Date:              December 2,2020




   The name, address, e-mail, and telephone number of the United States attorney, or assistant United States attorney, who
   requests this subpoena, are:
                                                   JOHN WARE
                                                   Assistant U.S. Attorney
                                                   111 S. 1Oth Street, Rm.20.333
                                                   St. Louis, MO 63102
                                                   314-539-2200                                                 usAo#-      2020R01339
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Additional informdion rcgmding            dem@        service, etc:
 ATTACHMENT 'IA"                   T-Mobile
 TO GRAND JURY                     Attn: Gavin Pinchback,
 SUBPOENA ISSUED TO:               Director Law Enforcement Relations Group
                                   4 Sylvan Way                                                   Phone: 866-537-091     1

                                   Parsippany, NJ 07054                                 eMail : Lerinbound@T-ltllobile.com


For all open and closed accounts, during the period January 1, 2020 to present, provide any and all records
associated with the following entities and/or accounts:

                                                Phone: 314-556-2736

These records should include, but not be limited to, all records and other information relating to the entities
and/or account(s) above and any associated accounts including the following:

    .    Names (including subscriber names, user names, and screen names);
    .    Addresses (including mailing addresses, residential addresses, business addresses, and e-mail
         addresses);
    '.   Local and long distance telephone connection records;
         Records of session times and durations'
     .   Length of service (including start date) and types of service utilized;
    .    Telephone or instrument numbers (including MAC addresses, ESN, MEIN, MEID, MlN, SlM,
         MSISDN, lMSl, and/or lMEl records);
    .    Other subscriber numbers or identities (including temporarily assigned network addresses and
         registration lnternet Protocol ("1P") addresses);
    .    Means and source of payment for such service (including any credit card or bank account
         number) and billing records;
    .    Additional accounts liked by phone number, email address, Device lD, machine cookie, MAC
         address, and/or geographic data; and
    .    lnternal compliance, and/or investigation records.

This subpoena is not requesting the content of communications.

NEGATIVE RESPONSE REQUIRED: lf you are unable to provide any of the information requested please
provide written confirmation of these facts on company letterhead, signed by the appropriate company officer.

CERTIFICATION REQUIRED: Please provide a signed and sworn affidavit or letter, from the person producing
the records, indicating the records provided are "A true and accurate copy of the original documents maintained
by your company, in the ordinary course of busrness, and the original records were created at or around the time
of the actual transactions". Failure to provide this document may result in your appearance being required.

RECORD FORMAT: Due to the anticipated volume of this request, records should be submitted using Adobe
PDF, Excel XLSX, or another agreed upon format. lf the documents requested cannot be provided via electronic
media or secure download, we will accept paper copies only as a substitute.

         NOTE: ln lieu of appearing before the Grand Jury, the requested information may be sent to
         Assistant United States Attorney John Ware, U.S. Attorney's Office, 111 South lOth Street, Room
         20.333, St. Louis, MO 63102 or email iohn.ware@usdoi.gov.

You may also direct any questions concerning the information requested to:

         U.S. Postal lnspection Service
         Attn: Postal lnspector P.Dyer
         1106 Walnut St.                                    Phone: (314) 539-9443
         St. Louis, MO 63199                                Email:   PRDver@uspis.qov

Pursuant to an official investigation by the Grand Jury in the Eastern District of Mi ssouri, you are requested
                                                                                                                 not to
disclose the existence of this request nor that you have provided information Such a disclosure would
                                                                                                            impede the
investigation and thereby interfere with the enforcement of the criminal laws of the United States. you
                                                                                                       lf    intend to
disclose the existence of, or your response to, this request, please contact the lnspector
                                                                                              above immediately
